






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00090-CR






Anthony Charles Adams, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 59518, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		A jury convicted Anthony Charles Adams of the offense of aggravated sexual
assault&nbsp;of a child.  See Tex. Penal Code Ann. §§ 22.011(a)(2), 22.021(a)(1)(B)(iii), (2)(B)
(West&nbsp;Supp. 2007).  The jury assessed punishment at 10 years' imprisonment.  In two issues on
appeal, Adams challenges the legal and factual sufficiency of the evidence and claims that the district
court erred in ordering him to pay court costs and attorney's fees.  We will affirm the judgment.


BACKGROUND

		The jury heard evidence that on the night of October 14, 2005, Granisha Sandifer left 

her three children at Adams's house while Sandifer ran errands.  One of the children was A.S., an
eight-year-old girl.  Also present at the house that night were Adams's wife, Lahoma; Lahoma's
adult niece, Anita Thomas; and Anita's husband, Gabriel.  A.S. testified that, at some point during
the night, all of the adults left the house except for Adams.

		A.S. testified that she and her two brothers fell asleep on the couch in the living room. 
A.S. recounted that, at some point after she had fallen asleep, she awoke to Adams picking her
up&nbsp;and taking her into his bedroom.  Then, according to A.S., Adams placed her on his bed,
pulled&nbsp;down her pants and panties, and "licked" her sexual organ. A.S. testified that she was "half
awake and half asleep" while this was happening, but she was certain that she was not dreaming. 
A.S. recalled that she told Adams to stop but that he would not.  A.S. also recalled seeing Adams's
head between her legs.  A.S. estimated that this happened for "about seven seconds."  A.S. testified
that after Adams was finished, he told her to pull her pants up and asked her to kiss him.  After
leaving the bedroom, A.S. immediately went to the phone and called her mother, asking her to pick
her up.  A.S. testified that Adams then "went outside."  A.S. also testified that she had never lied to
get someone in trouble and had no reason to get Adams in trouble.  When asked by the State if she
was "100 percent sure" about what happened that night, A.S. answered, "Yes."

		When Sandifer arrived at the house to pick up her children, A.S. ran to her and
hugged her.  According to Sandifer, A.S. was crying.  Sandifer testified that A.S. immediately told
her what happened.  Sandifer explained to the jury what A.S. told her, and Sandifer's explanation 
was consistent with A.S.'s testimony.  Sandifer testified that after A.S. told her what happened, she
took her children back to her home and called the police.  She then returned to Adams's house with
A.S. so that her daughter could identify Adams to the police.

		One of the investigating officers was Officer Robert Rush of the Killeen Police
Department.  Officer Rush spoke with A.S., and he testified that she told him what happened. 
Rush&nbsp;explained to the jury what A.S. told him, and Rush's explanation was consistent with
A.S.'s&nbsp;testimony.  According to Rush, A.S. "seemed believable."  He testified that he did not doubt
her credibility.  Rush also testified that he asked A.S. if she could describe anything in the room
where the incident happened.  A.S. described a television set in Adams's bedroom.  Rush explained
that he had seen the television himself, and it was just as A.S. described it.  Rush further testified
about statements Adams made to him.  According to Rush, Adams changed his story.  At first,
Adams told Rush that he was the only adult at the house.  Then, Adams told him that there were
other adults present.  Rush testified that, at one point, Adams kept talking about how much trouble
he was in and how his military career was over.

		Anita Thomas returned to the house while the police were conducting their
investigation.  Thomas testified that she observed A.S. shaking and crying, and that A.S. appeared
traumatized and scared.  Thomas also testified that she had known A.S. for about two months prior
to the incident and that, during that time, A.S. had never done anything that made Thomas believe
that A.S. was a liar.  Thomas further testified that on two occasions, once on the night of the incident
and once approximately two weeks later, she asked Adams, "Why he did that."  According to
Thomas, instead of denying the accusation, Adams answered that he did not know why he did it.

		Early the next morning, certified Sexual Assault Nurse Examiner Debra Kleypas
interviewed and examined A.S.  Kleypas testified that she had performed over 500 exams in
the&nbsp;five&nbsp;years since she had been certified, and 130 of them were performed on children younger
than&nbsp;12 years of age.  Kleypas testified that A.S. told her what happened, and she explained to
the&nbsp;jury what A.S. told her.  Kleypas's description of what A.S. told her was consistent with
A.S.'s&nbsp;testimony.  According to Kleypas, there was nothing in A.S.'s story that led her to believe that
A.S. may have been lying.  Kleypas also testified that she did not observe any physical injuries to
A.S.  The lack of injuries was to be expected, according to Kleypas, because of the nature of the
assault.  She further testified that, in 85 percent of sexual assault cases, there is no evidence of injury.

		The State's final witness was Officer Ronnie Supak of the Killeen Police Department,
the officer who headed the investigation.  Officer Supak testified that, during the course of the
investigation, there was nothing to lead him to believe that the incident happened any other way than
exactly as A.S. told him it happened.

		The defense called two witnesses, Adams and his wife, Lahoma.  Lahoma testified
that she believed A.S. was lying.  Lahoma also testified that she believed in her "gut" that her
husband was innocent.  Adams denied the allegations against him, and he testified that he had
"no&nbsp;idea" why A.S. would tell a story that was not true.

		The jury convicted Adams of aggravated sexual assault of a child and assessed
punishment at 10 years' imprisonment.  This appeal followed.


DISCUSSION

Evidentiary sufficiency

		In his first issue, Adams challenges the legal and factual sufficiency of the evidence
supporting his conviction.  When there is a challenge to the legal sufficiency of the evidence to
sustain a criminal conviction, we consider whether a rational trier of fact could have found
the&nbsp;essential elements of the offense beyond a reasonable doubt.  Vodochodsky v. State, 158 S.W.3d
502, 509 (Tex. Crim. App. 2005).  We review all the evidence in the light most favorable to the
verdict and assume that the trier of fact resolved conflicts in the testimony, weighed the evidence,
and drew reasonable inferences in a manner that supports the verdict.  See Rollerson
v.&nbsp;State,&nbsp;227&nbsp;S.W.3d 718, 724 (Tex. Crim. App. 2007); Shams v. State, 195 S.W.3d
346,&nbsp;347&nbsp;(Tex.&nbsp;App.--Austin 2006, pet. ref'd) (citing Griffin v. State, 614 S.W.2d 155, 159
(Tex.&nbsp;Crim. App. 1981)).  It is not necessary that every fact point directly and independently to the
defendant's guilt, but it is enough if the conclusion is warranted by the combined and cumulative
force of all the incriminating circumstances.  Hooper v. State, 214 S.W.3d 9, 13 (Tex. Crim. App.
2007).  We must consider all the evidence, rightly or wrongly admitted, that the trier of fact was
permitted to consider.  See Conner v. State, 67 S.W.3d 192, 197 (Tex. Crim. App. 2001).

		In a factual sufficiency review, we view the evidence in a neutral light and ask
whether a jury was rationally justified in finding guilt beyond a reasonable doubt.  See Watson
v.&nbsp;State, 204 S.W.3d 404, 414 (Tex. Crim. App. 2006).  We then determine whether the evidence
supporting the verdict is so weak that the verdict is clearly wrong and manifestly unjust or whether
the verdict is against the great weight and preponderance of the conflicting evidence.  Id. at 415. 
We&nbsp;will not reverse a case on a factual sufficiency challenge unless we can say, with some objective
basis in the record, that the great weight and preponderance of the evidence contradicts the jury's
verdict.  Id. at 417.

		A person commits the offense of sexual assault of a child if he intentionally
or&nbsp;knowingly causes the penetration of the anus or sexual organ of a child by any means. 
Tex.&nbsp;Penal&nbsp;Code Ann. § 22.011(a)(2)(A).  The offense is aggravated if the child is younger than 14
years of age.  Id. § 22.021(a)(1), (2)(B).

		In cases involving sexual offenses against children, the testimony of the child victim
alone is legally sufficient to support a conviction.  See Tex. Code Crim. Proc. Ann. art. 38.07
(West&nbsp;2005); Garcia v. State, 563 S.W.2d 925, 928 (Tex. Crim. App. 1978); Lee v. State,
186&nbsp;S.W.3d 649, 655 (Tex. App.--Dallas 2006, pet. ref'd); Hellums v. State, 831 S.W.2d
545,&nbsp;547&nbsp;(Tex. App.--Austin 1992, no pet.).  Here, A.S. testified that Sparks "licked" her sexual
organ.  The jury could have rationally credited this testimony, especially in light of testimony from
other witnesses that A.S. "seemed believable," was not a liar, had no reason to get Adams in trouble,
and said nothing that caused the people to whom she reported the abuse to doubt the truth of what
she was telling them.

		Adams complains that A.S.'s testimony was inconsistent, noting that there were
times&nbsp;in her testimony when A.S. first answered "no" to questions asked by the State, and then,
once&nbsp;the State rephrased the question, answered "yes."  For example, at one point the State
asked&nbsp;A.S., "While Anthony was doing this, could you feel it?"  A.S. first answered, "No." 
The&nbsp;State then&nbsp;rephrased the question, "When he was licking your private could you feel it?" 
This&nbsp;time, A.S.&nbsp;answered, "Yes."  However, the jury was free to resolve any apparent
inconsistencies&nbsp;in A.S.'s&nbsp;testimony in favor of the State.  See Ray v. State, 106 S.W.3d
299,&nbsp;302&nbsp;(Tex. App.--Houston [1st Dist.] 2003, no pet.).  Furthermore, the jury could have rationally
determined that whatever difficulty A.S. was having in answering the State's questions was not due
to a lack of truthfulness, but to the traumatic nature of what happened to her and the fact that she was
only eight years old when it happened and ten years old when she was testifying.  Additionally, the
jury could have credited evidence tending to show that A.S. provided a consistent description of the
incident to her mother, Officer Rush, and the examining nurse on the night of the offense.  The jury
also could have credited A.S.'s testimony describing the television set in Adams's bedroom, which
was consistent with Rush's observations about the television, as evidence that A.S. was telling the
truth about what happened.

		Adams also places significance on the fact that A.S. admitted that she was "half
awake and half asleep" when the assault occurred.  However, A.S. testified that she was certain that
she was not dreaming.  In fact, when the State asked A.S. if she was "100 percent sure" of what
happened to her, A.S. answered, "Yes."  Furthermore, A.S. testified that she was able to see Adams's
head between her legs.  The jury could have credited this testimony as evidence that A.S. was awake
enough to know what was happening to her and who was assaulting her.

		Adams further argues that there was no DNA evidence in this case.  While this is true,
there is no requirement that a conviction be supported by DNA evidence.  See Harmon v. State,
167&nbsp;S.W.3d 610, 614 (Tex. App.--Houston [14th Dist.] 2005, pet. ref'd).  In fact, Nurse Kleypas
testified that it was not unusual for there to be no DNA evidence in sexual assault cases, because
DNA evidence is often inadvertently washed or wiped away prior to the physical examination.  The
jury could have rationally chosen to disregard the lack of DNA evidence and focus instead on the
other evidence in the case.

		Finally, Adams asserts that there was no evidence of penetration.  We disagree.  This
element of the offense is satisfied by proof of any penetration, no matter how slight.  Cowan
v.&nbsp;State,&nbsp;562 S.W.2d 236, 238 (Tex. Crim. App. 1978); Murphy v. State, 4 S.W.3d
926,&nbsp;929&nbsp;(Tex.&nbsp;App.--Waco 1999, pet. ref'd).  Penetration may be proved by circumstantial
evidence.  Nilsson v. State, 477 S.W.2d 592, 595 (Tex. Crim. App. 1972).  Contact with the female
sexual organ in a manner a reasonable person would consider more intrusive than contact with the
outer vaginal lips constitutes penetration.  Vernon v. State, 841 S.W.2d 407, 409 (Tex. Crim. App.
1992).  Penetration of the vaginal canal is not required.  See id.  A.S. testified that Adams "licked
her private."  When asked by the State to clarify what she meant by this, A.S. testified that she was
referring to her vagina.  A.S. also testified that this occurred for "about seven seconds."  Nurse
Kleypas testified that A.S. told her that Adams "used his tongue"and "was licking her private part." 
The jury could have rationally inferred from this testimony that Adams contacted A.S.'s sexual organ
with his tongue in a manner a reasonable person would consider more intrusive than contact with
the outer vaginal lips.  Viewing the above evidence in the light most favorable to the verdict, we hold
the evidence is legally sufficient to support the conviction.

		When considering the evidence in a neutral light, we reach the same conclusion
regarding the factual sufficiency of the evidence.  We cannot say, with some objective basis in the
record, that the great weight and preponderance of the evidence contradicts the jury's verdict. 
Adams denied the allegations against him, and his wife testified that she believed in her "gut" that
Adams was innocent.  However, the jury is the sole judge of the credibility of the witnesses and the
weight to be given the evidence, and may choose to believe all, some, or none of it.  Margraves
v.&nbsp;State, 34 S.W.3d 912, 919 (Tex. Crim. App. 2000); Rachal v. State, 917 S.W.2d
799,&nbsp;805&nbsp;(Tex.&nbsp;Crim. App. 1996); Skillern v. State, 890 S.W.2d 849, 879 (Tex. App.--Austin 1991,
pet.&nbsp;ref'd).  Thus, the jury is permitted to believe or disbelieve any part of the testimony of any
witness.  Jones v. State, 984 S.W.2d 254, 258 (Tex. Crim. App. 1998).

		The jury heard evidence that when Anita Thomas asked Adams why he did it, rather
than deny the accusation, Adams answered that he did not know why he did it.  Officer Rush testified
that Adams repeatedly stated how much trouble he was in and how his military career was over,
statements from which the jury could rationally infer a consciousness of guilt.  Rush also testified
that Adams "changed his story."  As for the testimony of Adams's wife, Lahoma, the State elicited
testimony from her on cross-examination about her health problems and health-care costs.  From this
testimony the jury could rationally infer that Lahoma's testimony was self-serving because she
needed Adams to be acquitted so that he could continue to provide for her financial needs.  The jury
also could rationally infer that because Lahoma was not present when the incident happened, she had
no objective basis on which to base her "gut" feeling that her husband was innocent.  Furthermore,
the State called Officer Supak to testify in rebuttal that Lahoma approached him during a court recess
and complained about why the State was making such a "big deal" about what happened.  Officer
Supak testified that Lahoma's statement to him caused him to question her credibility.  In her
testimony, Lahoma blamed A.S. for the incident and characterized her as "trash."  For these and
other reasons, the jury could have rationally rejected the testimony of Adams and his wife.

		We overrule Adams's first issue.


Court costs and attorney's fees

		In his second issue, Adams asserts that the district court erred in ordering him to pay 

court costs and attorney's fees as a condition of his parole.  This Court has repeatedly held that trial
courts are generally without authority to order terms and conditions of parole. (1)  However, the record
in this case reflects that the district court did not impose any terms or conditions of parole, either
during sentencing or in its written judgment of conviction.  Instead, the district court ordered Adams
to pay court costs, attorney's fees, fines, and restitution "after release from incarceration."  As long
as such payments were not imposed as a term or condition of parole, the district court was statutorily
authorized to order such payments.  See Tex. Gov't Code Ann. § 102.021 (West Supp. 2007)
(requiring person convicted of offense to pay court costs); Tex. Code Crim. Proc. Ann. arts. 26.05(g)
(West Supp. 2007) (authorizing trial court to order payment of court-appointed attorney's fees),
42.037 (West Supp. 2007) (authorizing trial court to order payment of restitution), 42.15(b)(2)
(West&nbsp;2006) (authorizing trial court to direct defendant to pay fines and costs "at some later date"),
42.16 (West 2006) (authorizing trial court to order collection of costs).

		Because the district court did not impose any terms or conditions of parole, we
overrule Adams's second issue.




CONCLUSION

		Having overruled Adams's issues on appeal, we affirm the judgment of the
district&nbsp;court.



						__________________________________________

						Bob Pemberton, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   May 15, 2008

Do Not Publish
1.   See, e.g., Rendon v. State, No. 03-06-00671-CR, 2007 Tex. App. LEXIS 7234, at
*10-11&nbsp;(Tex. App.--Austin Aug. 31, 2007, no pet.) (mem. op., not designated for publication);
Bitterman v. State, No. 03-06-00386-CR, 2007 Tex. App. LEXIS 7235, at *13-14
(Tex.&nbsp;App.--Austin Aug.&nbsp;28,&nbsp;2007, pet. dism'd) (mem. op., not designated for publication);
Davis&nbsp;v.&nbsp;State,&nbsp;No.&nbsp;03-06-00370-CR, 2006 Tex. App. LEXIS 10328, at *2 (Tex. App.--Austin
Dec.&nbsp;1,&nbsp;2006, no&nbsp;pet.) (mem. op., not designated for publication); Terrell v. State,
No.&nbsp;03-06-00250-CR, 2006 Tex.&nbsp;App. LEXIS 9780, at *13-14 (Tex. App.--Austin
Nov.&nbsp;10,&nbsp;2006,&nbsp;no pet.) (mem. op., not designated for publication); Rushin v. State,
No.&nbsp;03-06-00068-CR, 2006 Tex. App. LEXIS 6693, at *10 (Tex. App.--Austin July 28, 2006,
pet.&nbsp;ref'd) (mem. op., not designated for publication).


